                                            Case 3:22-cv-07557-SI Document 28 Filed 01/31/23 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JOHN DOE, et al.,                                Case No. 22-cv-07557-SI
                                   8                   Plaintiffs,                        Related Case No. 22-cv-09149 SI
                                   9             v.
                                                                                          ORDER OF REFERENCE TO
                                  10     META PLATFORMS, INC.,                            MAGISTRATE JUDGE FOR
                                                                                          DISCOVERY
                                  11                   Defendant.

                                  12
Northern District of California




                                              Pursuant to Civil Local Rule 72-1, discovery disputes and all discovery matters in these
 United States District Court




                                  13
                                       related cases are referred to United States Magistrate Judge Virginia K. DeMarchi.
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                                              IT IS SO ORDERED.
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                                       Dated: January 31, 2023                     ______________________________________
                                  18                                                 SUSAN ILLSTON
                                                                                     United States District Judge
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